Case 8:18-cv-01168-SCB-AAS Document 13 Filed 08/23/18 Page 1 of 1 PageID 49



                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

LORI SUBER,

   Plaintiff,

-vs-                                                   CASE NO.: 8:18-CV-01168-SCB-AAS

NISSAN MOTOR ACCEPTANCE
CORPORATION,

   Defendant.
                                                  /

                               NOTICE OF PENDING SETTLEMENT

        Plaintiff, Lori Suber, by and through the undersigned counsel, hereby notifies the Court that the

parties have reached a settlement with regard to this case and are presently drafting and finalizing the

settlement agreement, and general release documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                                     CERTIFICATE OF SERVICE

        I hereby certify that on August 23, 2018, I electronically filed the foregoing with the Clerk of the

Court by using the CM/ECF system and that a Notice of this filing will be sent to the following by

operation of the Court’s Electronic Filing System: Joseph Apatov, Esq., McGlinchey Stafford, One E

Broward     Blvd,   Ste   1400,   Fort   Lauderdale,    FL      33301    (japatov@mcglinchey.com        and

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                                                       /s/ Jason R. Derry, Esquire
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